Case 1:20-cr-00122-RP Document 23 Filed 07/15/20 Page 1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

AUSTIN DIVISION
UNITED STATES OF AMERICA §
yy NO. 1:20-CR-00122(1)-RP
PAUL KRUSE

ORDER ON DEFENDANT'S MOTION TO DISMISS THE CASE FOR
LACK OF SUBJECT-MATTER JURISDICTION

Upon consideration of Defendant's Motion to Dismiss the Case for Lack of Subject-
Matter Jurisdiction, and the entire record in this case, it is hereby

ORDERED that the motion is granted; and it is further

ORDERED that the case is dismissed for lack of subject-matter jurisdiction.

SIGNED at Austin, Texas, on 7 [ I s( Zo

Ess

ROBERT PITMAN
UNITED STATES DISTRICT JUDGE

 
